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                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF NEW YORK
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BRUCE J. REID,
                 Plaintiff,                                         Civil Action No.: 1:20-cv-01817-VM-JLC
        -vs-
JONATHAN S. SACK, MICHAEL H. MUI, and
SACK & SACK, LLP,
                 Defendants.
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                                         NOTICE OF SETTLEMENT

        In response to the Court’s Order dated May 31, 2022 [CM/ECF Doc. 42], notice is hereby

given that the parties have reached an agreement in principle to settle all claims asserted in this action

and anticipate filing a Stipulation of Dismissal pursuant to Fed. R. Civ. P. 41(a) within 30 days.

Dated: New York, New York                                     Respectfully submitted,
       June 1, 2022
                                                              McLAUGHLIN & STERN, LLP

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